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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 SECURITY WATCH ALERT                     )
 TEAM, LLC.                               )
                                          )
                     Plaintiff,           )
                                          )
              v.                          ) CASE NO. 1:17-cv-00003-SEB-MPB
                                          )
                                          )
 CURTIS T. HILL, JR.,                     )
 in his official capacity as Indiana      )
 Attorney General,                        )
 DEREK R. PETERSON,                       )
 ED HUTCHISON,                            )
                                          )
                     Defendants.          )

                               JOINT NOTICE OF MEDIATION

       Plaintiff, Security Watch Alert Team, LLC., and Defendants, Curtis T. Hill Jr., in

 his official capacity as Indiana Attorney General, Derek R. Peterson and Ed Hutchison,

 by counsel, inform the Court that they have scheduled a private mediation for this

 matter. In accordance with Magistrate Judge’s Entry on Plaintiff’s Response to Show

 Cause Order, the parties will engage in mediation on September 20, 2018. Lorrie Ridder

 will serve as the mediator.

                                                 Respectfully Submitted,

                                                 CURTIS T. HILL, JR.,
                                                 Attorney General of Indiana
                                                 Attorney No.: 13999-20

                                          By:     s/ Mollie A. Slinker
                                                 Mollie A. Slinker
                                                 Attorney No.: 34776-49
                                                 Office of Indiana Attorney General

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                                            Indianapolis, IN 46204
                                            Attorney for Defendants

                                    By:      s/ Zachary J. Eichel
                                            Zachary J. Eichel
                                            Attorney No.: 28895-49
                                            EINTERZ & EINTERZ
                                            4600 Northwest Plaza West Drive
                                            Zionsville, Indiana 46077
                                            Attorney for Plaintiff




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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2018, I electronically filed the foregoing with

 the Clerk of the Court using the CM/ECF system. Service of this filing will be made on

 all ECF-registered counsel by operation of the Court’s electronic filing system.

       Zachary Judson Eichel
       zach@einterzlaw.com

       Michael L. Einterz , Sr.
       mike@einterzlaw.com



                                          By:      s/ Mollie A. Slinker
                                                  Mollie A. Slinker
                                                  Deputy Attorney General



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